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IN THE UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

ALIANZA AMERICAS, and YANET __ )Case No.: 22-cv-11550

DOE, PABLO DOE, and JESUS DOE on )
behalf of themselves and all others )
similarly situated,
Plaintiffs,
VS.

RONALD DESANTIS, Governor of
Florida in his official and personal
Capacities; JARED W. PERDUE,
Secretary of the Florida Department of
Transportation in his official and personal
Capacities; STATE OF FLORIDA; THE
FLORIDA DEPARTMENT OF
TRANSPORTATION; DOES #1-5,

Defendants.

EMANUEL MCCRAY, on behalf of
himself and all others similarly situated,

Nee eee Ne Nee ne ee” Nee Nene” nee” Nee” nee” Senet” nee eee” meee” ee” “eee” eee” “eee”

Intervenors.

MOTION TO INTERVENE
Rule 24, Fed. R. Civ. P.;
Tenth Amendment;
Declaration of Independence; and
Treaty of Paris, Gr. Brit.-U.S.,
September 3, 1783, 8 Stat. 80

PROPOSED CLASS ACTION

 
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Emanuel McCray (“McCray”), Intervenor, respectfully moves to intervene in
this action on behalf of himself and all other citizens of the United States similarly
situated, as a class, pursuant to Rule 24 of the Federal Rules of Civil Procedure
(Fed. R. Civ. P.), the Declaration of Independence, our sovereign power reserved to
the People in the Tenth Amendment, and our power as a group acting as a class
pursuant to Bond v. United States, 572 U.S. 844, 853 (2014),' and Califano v.
Yamasaki, 442 U.S. 682, 700, (1979).?

This Motion is supported by the attached Memorandum of Law and is based
on the following grounds for intervention:

1) Founding Documents: The Declaration of Independence of 1776, the
U.S. Constitution and the Enabling Act for each State of the United States do not
grant Congress, the Federal and State Governments and this Honorable Court power
or authority to grant the relief requested by the Plaintiff illegal immigrants and
Plaintiff Alianza Americas. In the alternative, any such Federal or State rules,
statutes, science of law (jurisprudence) or regulation is contrary to the original
intent of our Nation’s founding documents and unconstitutional.

2)  Self-Preservation and Self-Governance: The supreme and

inalienable interests of the People of the United States to self-preservation and self-

 

' Holding that: “‘An individual may ‘assert injury from governmental action taken in excess of the authority
that federalism defines.”

* Holding that “class relief is appropriate in civil actions brought in federal court, including those seeking to
overturn determinations of the departments of the Executive Branch of the Government in cases where judicial review
of such determinations is authorized.... Indeed, a wide variety of federal jurisdictional provisions speak in terms of
individual plaintiffs, but class relief has never been thought to be unavailable under them.”

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governance overrides the relief requested by the Plaintiff illegal immigrants and
their proposed class, who are, by federal law, criminals and thus, a clear and present
danger to the public health, safety and property of the People of the United States.
3) Basic Human Rights: Basic human rights (BHRs) are guaranteed to
the People of the United States. Since the Declaration of Independence of 1776,
these BHRs have been under vicious assault by individuals loyal to globalists,
internationalists and other believers in a “one-world” order. The instant case is a
perfect example. On September 18, 2022, the Commonwealth of Massachusetts
(“Massachusetts”) announced that on September 16, 2022 Massachusetts directed
the Plaintiff illegal immigrants, and the other illegal immigrants be removed to
military confinement in a “dormitory-style space” aboard Joint Base Cape Cod
(JBCC).? Massachusetts described the removal order as being “a voluntary
transition from Martha’s Vineyard”, which has a “predominately Black area” in
“Oak Bluffs”, and is a utopia-type island frequented by Hollywood celebrities;
former President Obama; the Honorable William T. Newman, Jr., Chief Judge of
the Arlington County, Virginia Circuit Court who is married to Shelia Johnson,
cofounder of Black Entertainment Television; Henry Louis Gates, Jr.; Beyoncé and

Jay-Z; Quincy Jones; Malinda and D-Nice; Eddie Murphy; Sylvia Rhone, President

 

3 Press Release. Press Release Baker-Polito Administration Provides Update Regarding Emergency
Response Plan for Migrants Sheltering at Joint Base Cape Cod. Available from https: diwww. mass. gov/news/baker-
id d di I b

 

cape-cod. [Last visited on September 25, 2022 at 09:00am.]
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of Universal Motown; Valerie Jarrett, former White House adviser to President
Obama; Jill Nelson, author of the book “Blacks in Martha’s Vineyard”; Harvard
University law professor Charles Ogletree, who is also a contributor to The
Martha’s Vineyard Times newspaper; award-winning journalist Charlayne Hunter-
Gault, who is also a contributor to ESSENCE magazine; Oprah Winfrey, and Spike
Lee.* Thus, the federal constitutional rights being claimed by the illegal immigrants
were denied when Massachusetts forced them into military confinement aboard
JBCC rather than allowing these illegal immigrants to live in the “Oak Bluffs”
section of Martha’s Vineyard with other people of color.

In a statement made before the United Nations on September 23, 2022, the
Right Honorable Jacinda Kate Laurell Ardern (“Ardern”), Prime Minister of New
Zealand and Leader of the New Zealand Labour Party, revealed the fact that “New
Zealand, the USA, Twitter, and Microsoft” were engaged in an international
conspiracy to unlawfully spy on and censor humans under the guise of “privacy
protective technology”. Ardern further encouraged the U.N. to expand its war with
Russia, a founding Member of the U.N., over Ukraine, as part of a scheme to

illegally expand the immigration/refugee crisis in Ukraine.°

 

4 Celebrities in Marthas Vineyard: ESSENCE.com roundups Black celebrities who vacation in Martha's
Vineyard. Updated October 29, 2020. Available from https://Awww.essence.com/news/celebrities-marthas-
vineyard/#310417. [Last visited September 25, 2022].

5 New Zealand - Prime Minister Addresses General Debate, 77th Session. September 22, 2022. Available
from https://media.un.org/en/asset/k1o/klos886csb. [Last visited on October 1, 2022]; United Nations General
Assembly National Statement. September 24, 2022. Available from https://www.beehive.govt.nz/speech/united-
nations-general-assembly-national-statement. [Last visited on October |, 2022]; Christchurch Call Initiative on

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4) Tenth Amendment Collective Intervention: The Supreme Court
in United States v. Sprague, 282 U.S. 716, 733 (1931) found the Tenth Amendment
was intended to confirm the understanding of the people at the time the Constitution
was adopted, that powers not granted to the United States were reserved to the
States or to the people. “It added nothing to the instrument as originally ratified....”
In this sense, the Amendment is declaratory that all is retained which has not been
surrendered. New York v. United States, 505 U.S. 144, 156 (1992) (quoting United
States v. Darby, 312 U.S. 100, 124 (1941)). Justice Joseph Story characterized the
Amendment as a mere affirmation of a necessary rule of interpreting the
Constitution:

“Being an instrument of limited and enumerated powers, it follows

irresistibly, that what is not conferred, is withheld, and belongs to the

state authorities, if invested by their constitutions of government

respectively in them; and if not so in vested, it is retained BY THE

PEOPLE, as a part of their residuary sovereignty;”° and

5) Plaintiffs’ Fraudulent Allegations: Key allegations in the complaint
exposes the fraudulent behavior of the Plaintiffs. No where is it alleged in the
complaint that entry was through a lawfully authorized port of entry. Each Doe

Plaintiff alleged having “crossed the border into the United States near Piedras

Negras, Mexico”, a town that shares a border with Eagle Pass, TX 78852 and the

 

Algorithmic Outcomes. September 21, 2022. Available from https://www.beehive.govt.nz/release/christchurch-call-
initiative-algorithmic-outcomes. [Last visited on October 1, 2022]; At UN, New Zealand PM backs war against
Russia, promotes internet censorship. September 29, 2022. Available from

https://www.wsws.ore/en/articles/2022/09/30/eezu-s30.html. [Last visited on October 1, 2022].

§ Joseph Story, Commentaries on the Constitution of the United States § 1900 (1833).

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Eagle Pass Port of Entry (POE), United States POE Code 2303,’ which was
established in or about 1896. The United States currently recognizes Interim
President Juan Guaido and the Venezuelan National Assembly elected in 2015 as
the only legitimate federal institution in accordance with the Venezuelan
Constitution. Since August 28, 2019, the U.S. Department of State has provided
legal immigration assistance to the citizens of Venezuela through the Venezuela
Affairs Unit (VAU), which serves as the U.S. Mission to Venezuela and is located
in the U.S. Embassy in Bogota, Colombia.®

6) Request for False Names: The Plaintiff illegal immigrants have
requested, and have been granted, the use of false names, contrary to the public’s
constitutional “right to know who is using their courts”. Does v. Mills, 39 F.4th 20,
25 (1st Cir. 2022). Moreover, the Plaintiff illegal immigrants state no facts or
circumstances creating a “reasonable fear of severe harm” under the “Megless
inquiry” to outweigh the “public’s interest in open litigation.” Jd. at 26.

7) International “Infiltration” Conspiracy: The Plaintiff illegal
immigrants provide no explanation as to why they bypassed the U.S. Mission to
Venezuela in Bogota, Colombia and traveled from Venezuela to Piedras Negras,

Mexico where they illegally entered the United States. In or about October 2017,

 

7 Locate a Port of Entry in Texas. U.S. Customs and Border Protection. Available from
https://www.cbp.gov/contact/ports/TX. [Last visited on September 25, 2022].
3 U.S. Relations With Venezuela: Bilateral Relations Fact Sheet. Bureau of Western Hemisphere Affairs.

March 10, 2022. Available from https://www.state.gov/u-s-relations-with-venezuela/;
https://www.state.gov/countries-areas/venezuela/. [Last visited on September 25, 2022].

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President Trump established a “back channel” communications link for the public
known as “Q”.° At least of 54 “Q” posts summarize the association of illegal
immigration and “[i]nfiltration [rogue] at the highest levels of our gov, media,
corps, etc.”: (Immigration—85, 100, 121, 874, 988, 1570, 1603, 1652, 2037, 2392,
2646, 2683, 2689, 2754, 2854, 3016, 3049, 3071, 3748, 3750, 3778 and 4545);
(Infiltration—57, 58, 779, 1510, 1751, 1796, 1813, 1960, 2651, 2682, 2984, 3124,
3588, 3634, 3903, 3911, 3931, 3997, 4235, 4284, 4373, 4416, 4424, 4543, 4583,
4612, 4620, 4627, 4645, 4649, 4699 and 4750).

“Q” Post #85, in its “ANSWERS” section, indicates the ultra-violent criminal
gang known as “MS13”, is funded by the drug enterprise known as “Sinaloa
Cartel”; has ties to the Intelligence Service of Pakistan; and that Rafael Aguilar and
Carmelo Marmolejo-Calixto, who were found murdered in Myrtle Beach, SC, were
responsible for the murder of Seth Rich. Pakistan is also a member of the
Commonwealth of Nations headed by Charles III, King of the United Kingdom.

“Q” Post #100, in its “ANSWERS” section, discusses the change of Queen
Elizabeth II’s family name and the Queen receiving “advice” on state matters from
Sadiq Aman Khan, a former Member of the UK Parliament with alleged ties to
Hamas, Al-Qaeda, Al Nusra, ISIS and the Muslim Brotherhood; the probable

murder of Princess Diana; the probable assassination of Gareth Wyn Williams, a

 

® Available from https://qanon.pub/. [Last visited on September 29, 2022].
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British MI5 agent found dead in August 2010; and the use of migrants by the
leaders of the European Union as “assets” to be used for nefarious acts, such as the
destruction of a country from within: “The migrants are to EU what MS-13 is to
U.S.”

Intervention is warranted as of right or permission because Intervenor was
born in the United States and the proposed class members were either born or
naturalized in the United States and as a taxpayer, must pay the costs associated
with illegal immigration that is intentionally allowed by the Federal Government
and the States.

In a 1994 report to Congress regarding the illegal alien problem in California,
the U.S. Government Accountability Office (GAO) found that by selecting the most
reasonable of their assumptions, the Office was able to adjust California’s cost
estimates for three programs at $2.35 billion,'® which was “by no means precise”
“because of severe data limitations” and the difficulties of estimating “tax revenue
from illegal aliens” without the benefit of having “information on the size of the
illegal alien population” and the “population’s income distribution, consumption
patterns, and tax compliance rates.”

The GAO also found that Congress attempted to reduce the size of the illegal

alien population through the Immigration Reform and Control Act of 1986 (IRCA)

 

"0 ILLEGAL ALIENS: Assessing Estimates of Financial Burden on California. United States General Accounting
Office. GAO/HEHS-95-22. November 1994, Available from https://www.gao.gov/assets/hehs-95-22.pdf. [Last
visited on October 1, 2022].

 
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by granting legal status to certain aliens already in the country and by prohibiting
employers from hiring any alien not authorized to work.

The GAO found that in 1992, “governments at all levels began experiencing
fiscal crises that heightened public concerns about the costs of providing benefits
and services to illegal aliens.”

In a Report published in 2010, the Federation for American Immigration
Reform (FAIR), found the “combined federal/state net outlay for services and
benefits provided to illegal aliens amounts to nearly $100 billion annually."
In an August 31, 2016 speech in Arizona, President Trump said: “Illegal

immigration costs our country more than $113 billion a year. And this is what we

get.”!?

 

"| The Fiscal Burden of illegal Immigration on United States Taxpayers. Federation for American
Immigration Reform. July 2010, revised February 2011. Available from

https://www.fairus.org/sites/default/files/2017-08/USCostStudy_2010.ndf. [Last visited on October 1, 2022].
"2 Donald Trump says illegal immigration costs $113 billion a year. Poynter Institute (Politifact). Available

from https://www.politifact.com/factchecks/2016/sep/01/donald-trump/donald-trump-says-illegal-immigration-costs-
113-bi/, [Last visited on October 1, 2022].

 

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MEMORANDUM OF LAW IN SUPPORT OF MOTION TO INTERVENE
I. Legal Standard.

The proposed Intervenors seek intervention (i) as of right or (ii) permissively
to challenge the constitutional jurisdiction of this Honorable Court to grant relief to
individuals who criminally violated the sovereignty of the United States and the
individual sovereignty of the People of the United States.

“To succeed on a motion to intervene as of right, a putative intervenor must
establish (i) the timeliness of its motion to intervene; (ii) the existence of an interest
relating to the property or transaction that forms the basis of the pending action; (iii)
a realistic threat that the disposition of the action will impede its ability to protect
that interest; and (iv) the lack of adequate representation of its position by any
existing party.” R G Mortg v. Fed Home Loan Mortg, 584 F.3d 1, 7 (1st Cir. 2009).

The movant must fulfill each of these preconditions. “The failure to satisfy
any one of them dooms intervention.” Jd. 584 F.3d at 7, citing Pub. Serv. Co. of
N.H. v. Patch, 136 F.3d 197, 204 (1st Cir. 1998).

“The district court’s denial of a motion for intervention as of right lays the
foundation for an immediate appeal.” Jd., Patch, 136 F.3d at 204.

II. Timeliness. This Motion to Intervene is timely. The complaint was filed on
September 20, 2022. As of the date of this Motion, October 1, 2022, the Defendants

have not filed any papers with the Court in response to the Complaint or in response

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to the Summons. The Plaintiffs and the Defendants have not responded to requests
to the Intervenors’ notice to intervene. ‘

Plaintiffs Yanet Doe, Pablo Doe and Jesus Doe admit in their allegations that
the United States maintained a “border” that was not open to illegal immigration
and that each knowingly and intentionally “crossed the border into the United States
near Piedras Negras, Mexico” in violation of U.S. laws punishing conspiracies
against the United States, illegal entry into the U.S., and immigration fraud
involving willfully false or misleading representations or the willful concealment of
a material facts.

“Timeliness is to be determined from all the circumstances.” Public Citizen v.
Liggett Group, Inc., 858 F.2d 775, 784 (1st Cir. 1988). See also Culbreath v.
Dukakis, 630 F.2d 15, 20 (1st Cir. 1980) and NAACP v. New York, 413 U.S. 345,
366, (1973) (Timeliness determinations under Rule 24 are vested in the sound
discretion of the district court.).

III. Significantly Protectable Interests.

Proposed Intervenors seek to protect significant “protectable interests”

secured by the 1776 Declaration of Independence; the Treaty of Paris, Gr. Brit.-

U.S., September 3, 1783, 8 Stat. 80; the U.S Constitution and the Tenth

Amendment; and the Enabling Act agreed to by each State.

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Data provided by the Department of Homeland Security reveals that between

2011 and 2020, the United States apprehended approximately 6,269,292 illegal

immigrants from nearly every sovereign nation on this Earth:

 

Table 34.

NONCITIZENS APPREHENDED BY REGION AND COUNTRY OF NATIONALITY: FISCAL YEARS 2011 TO 2020

 

Region and country
of nationality

 

2014

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Asia 12.484 19,503 18.668 7.923
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Japan 63 59 a7 43 18 11 » 24 13 8
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Panama. . 226 197 184 92 95 78 a8 66
Paraguay a5 33 ap 8 14 4 a 18
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Philippines 1135 927 721 334 263 280 231 204
Potand 519 404 328 20% 136 147 161 126
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Saint Kitts and News. 46 4g 32 20 21 a 19 10 D
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Settta and Montenegra (former) 142 ae 64 Sa 29 21 85 16 12 10
Sierra Leone ink 162 145 6 65 44 74 109 111 74
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South Sudan. 0 3 42 at lu 19 aa 81 aL a3
Soviet Union (former) 92 1s ag 64 19 23 35 24 18 9
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The immigration data released by DHS in Table 34 above is extremely
inaccurate and or misleading given the fact that the notation of a ““D” represents
“[dJata withheld to limit disclosure.” DHS has also withheld disclosing illegal
immigration data in its entirety for 17 of the 56 nations who are members of the
Commonwealth of Nations:'? Botswana, Brunei Darussalam, Cyprus, Kingdom of
Eswatini, Kiribati, Lesotho, Maldives, Malta, Mauritius, Mozambique, Namibia,
Nauru, Papua New Guinea, Seychelles, Solomon Islands, Tuvalu and Vanuatu.

The DAO and many States also admit illegal immigration affects every

citizen of the United States. Thus, intervention is necessary where important judicial

 

'3 The Commonwealth of Nations is a voluntary association of 56 independent and equal countries in Africa,
Asia, the Americas, Europe and the Pacific, comprising 2.5 billion people or one-third of the world’s population. The
head of the Commonwealth is Charles III, King of the United Kingdom. 7he Commonwealth. Available from
https://thecommonwealth.org/. [Last visited on October 1, 2022].; Commonwealth of Nations. Available from
https://en.wikipedia.org/wiki/Commonwealth_of Nations. [Last visited on October 1, 2022].

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and public concerns, not present in the circumstances of ordinary civil litigation, are
implicated, and where litigation by illegal immigrants naturally erodes the
“principle of party presentation so basic to our system of adjudication”, Arizona v.
California, 530 U.S. 392, 413 (2000), United States v. Sineneng-Smith, 140 S. Ct.
1575,1579 (2020), Greenlaw v. United States, 554 U.S. 237, 243-244 (2008); and
where the proposed Intervenors cannot be adequately represented by the parties and
their legal Counsel. Trbovich v. Mine Workers, 404 U.S. 528, 538 (1972).

The observance of “comity” and the recognition of a Nation’s sovereignty
includes recognizing the liability of the Sovereign to the American victims of the
crimes the Sovereign has caused to be committed or abetted by individuals illegally
entering the United States. As such, a constitutional question is presented as to
whether federal courts must respect “the independence, the equality, and dignity of
the sovereign” as set forth in The Schooner Exch. v. McF addon, 11 U.S. (7 Cranch)
116, 123 (1812), where, as here, the illegal immigration is aimed at destabilization
of the United States through infiltration. See also Banco Nacional de Cuba v.
Sabbatino, 376 U.S. 398, 409 (1964) (Comity is “neither a matter of absolute
obligation, on the one hand, nor of mere courtesy and good will, upon the other)”.

Any judgment of this Court, particularly one in favor of the Plaintiff illegal
immigrants, will have serious import for American foreign relations, the People of

the United States, and the national security of both, as evidenced from the powers

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reserved to the proposed Intervenors under the Tenth Amendment and Articles I, V
and VII of the Treaty of Paris, Gr. Brit.-U.S., September 3, 1783, 8 Stat. 80:

“Article 1:

His Brittanic Majesty acknowledges the said United States, viz., New
Hampshire, Massachusetts Bay, Rhode Island and Providence
Plantations, Connecticut, New York, New Jersey, Pennsylvania,
Maryland, Virginia, North Carolina, South Carolina and Georgia, to be
free sovereign and independent states, that he treats with them as such,
and for himself, his heirs, and successors, relinquishes all claims to the
government, propriety, and territorial rights of the same and every part
thereof.

Article 5:

It is agreed that Congress shall earnestly recommend it to the
legislatures of the respective states to provide for the restitution of all
estates, rights, and properties, which have been confiscated belonging
to real British subjects; and also of the estates, rights, and properties of
persons resident in districts in the possession on his Majesty’s arms and
who have not borne arms against the said United States. And that
persons of any other decription shall have free liberty to go to any part
or parts of any of the thirteen United States and therein to remain
twelve months unmolested in their endeavors to obtain the restitution
of such of their estates, rights, and properties as may have been
confiscated; and that Congress shall also earnestly recommend to the
several states a reconsideration and revision of all acts or laws
regarding the premises, so as to render the said laws or acts perfectly
consistent not only with justice and equity but with that spirit of
conciliation which on the return of the blessings of peace should
universally prevail. And that Congress shall also earnestly recommend
to the several states that the estates, rights, and properties, of such last
mentioned persons shall be restored to them, they refunding to any
persons who may be now in possession the bona fide price (where any
has been given) which such persons may have paid on purchasing any
of the said lands, rights, or properties since the confiscation.

And it is agreed that all persons who have any interest in confiscated
lands, either by debts, marriage settlements, or otherwise, shall meet
with no lawful impediment in the prosecution of their just rights.

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Article 7:

There shall be a firm and perpetual peace between his Brittanic
Majesty and the said states, and between the subjects of the one and the
citizens of the other, wherefore all hostilities both by sea and land shall
from henceforth cease. All prisoners on both sides shall be set at
liberty, and his Brittanic Majesty shall with all convenient speed, and
without causing any destruction, or carrying away any Negroes or other
property of the American inhabitants, withdraw all his armies,
garrisons, and fleets from the said United States, and from every post,
place, and harbor within the same; leaving in all fortifications, the
American artilery that may be therein; and shall also order and cause
all archives, records, deeds, and papers belonging to any of the said
states, or their citizens, which in the course of the war may have fallen
into the hands of his officers, to be forthwith restored and delivered to
the proper states and persons to whom they belong.”

Moreover, the United States established a viable system of legal immigration
through the Venezuela Affairs Unit, which serves as the U.S. Mission to Venezuela
and is located in the U.S. Embassy in Bogota, Colombia. The Plaintiff illegal
immigrants intentionally refused to legally immigrate to the United States through
the U.S. Embassy in Bogota, Colombia.

The United States has, since 1896, maintained a viable system of legal
immigration through the Eagle Pass, Texas Port of Entry. The Plaintiff illegal
immigrants intentionally refused to legally immigrate to the United States through
this port of entry.

The Immigration and Nationality Act of 1965, Pub.L. 89-236, 79 Stat. 911
and the Immigration Reform and Control Act of 1986, Pub.L. 99-603,

100 Stat. 3445 are legislative admissions of the fact that foreign nationals have no

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Federal right under the 1776 Declaration of Independence, the Treaty of Paris, Gr.
Brit.-U.S., September 3, 1783, 8 Stat. 80; the U.S Constitution, the Tenth
Amendment; and the Enabling Act agreed to by each State to intentionally enter this
Nation illegally to gain access to our Federal and State Court systems, and the other
systems of State and Federal Government.
IV. Intervenor’s Interests Not Adequately Represented by Existing Parties.

The interests of the proposed Intervenors, as a class, are distinct from the
Plaintiffs and the Defendants, and therefore cannot be adequately represented by the
parties and their legal Counsel. Indeed, the Supreme Court in Trbovich v. Mine
Workers, 404 U.S. 528 (1972) held that a union member’s interest was not
adequately represented by the Secretary of Labor because the Secretary had a “duty
to serve two distinct interests, which are related, but not identical.” /d. 404 U.S. at
538. The Supreme Court further held that:

“Even if the Secretary is performing his duties, broadly conceived, as

well as can be expected, the union member may have a valid complaint

about the performance of “his lawyer.” Such a complaint, filed by the

member who initiated the entire enforcement proceeding, should be

regarded as sufficient to warrant relief in the form of intervention under

Rule 24(a)(2).” Id. 404 U.S. at 539.

See also Pub. Util. Dist. No. 1 of Okanogan Cnty. v. State, 182 Wn.2d 519,
532, 342 P.3d 308 (Wash. 2015):

“We have also repeatedly concluded that the state’s general duty to

protect the public’s interest does not sufficiently protect the narrower
interests of private groups. In CLEAN v. City of Spokane, 133 Wash.2d

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455, 460-62, 474, 947 P.2d 1169 (1997), we allowed real estate
developers to intervene in an action to defend a city ordinance that
provided public support for the construction of a new parking garage in
downtown Spokane even though their interests were aligned with the

city.”

In Perry v. Proposition 8 Official Proponents, 587 F.3d 947, 950-51 (9th Cir.
2009), the Court found a “presumption” of representation could be overcome with a
“compelling showing’ to the contrary.”

The “ultimate objective” in throwing off the bonds of the Empires imposing
their will upon the Colonies with impunity was “to be free sovereign and
independent states”; “Absolved from all Allegiance to the British Crown” and its
Empire; “totally dissolved” from the “political connection between them and the
State of Great Britain”; and “have full Power to levy War, conclude Peace, contract
Alliances, establish Commerce, and to do all other Acts and Things which
Independent States may of right do”.

The U.S. Constitution provides no judicial authority to grant any relief to the
Plaintiffs beyond ordering the immediate removal of the Plaintiff illegals and their
proposed class to their countries of origin.

V. Permissive Intervention.

The proposed Intervenors also satisfy the requirements for permissive

intervention, which is governed by the provisions of Fed. R. Civ. P. Rule 24(b).

“[W]hen a putative intervenor seeks both intervention as of right and permissive

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intervention, a finding of untimeliness with respect to the former normally applies
to the latter (and, therefore, dooms the movant’s quest for permissive intervention).”
R G Mortg, 584 F.3d at 10-11.

Proposed Intervenors assert both factual and legal questions directly related
to the main action; we seek to defend our borders and sovereignty; and intervention
“will significantly contribute...to the just and equitable adjudication of the legal
questions presented.” Spangler v. Pasadena City Bd. of Educ., 552 F.2d 1326, 1329
(9th Cir. 1977).

VII. CONCLUSION.

For the reasons set forth above, the proposed Intervenors respectfully request
that the Court grant their motion to intervene as of right, or, in the alternative, allow
the Proposed Intervenors to intervene permissively.

Respectfully submitted this 1*t day of October 2022.

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U.S. DISTRICT COUR’
BISTRICT OF Ags.

IN THE UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

ALIANZA AMERICAS, and YANET __)Case No.: 22-cv-11550

DOE, PABLO DOE, and JESUS DOE on )
behalf of themselves and all others )

similarly situated, )
Plaintiffs, )

VS. )

)

RONALD DESANTIS, Governor of )
Florida in his official and personal )
Capacities; JARED W. PERDUE, )
Secretary of the Florida Department of )

Transportation in his official and personal )
Capacities; STATE OF FLORIDA; THE )
FLORIDA DEPARTMENT OF

TRANSPORTATION; DOES #1-5,

Defendants.

EMANUEL MCCRAY, on behalf of
himself and all others similarly situated,

Intervenors.

New See! “eee” Nee” ee” eee eee” Soe’ See” eee”

 

 

 

CERTIFICATE OF SERVICE

 
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I, Emanuel McCray, certify under penalty of perjury under the laws of the

State of Washington that on October 2, 2022, I caused a true and correct copy of the

MOTION TO INTERVENE to be served on the parties by mailing, postage

prepaid, to the addresses set forth below:

 

Ivan Espinoza-Madrigal

(BBO # 708080)

Lawyers for Civil Rights

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Office of the Attorney General

PL-01 The Capitol

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Attorneys for Defendant State of Florida

 

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State of Florida

400 S. Monroe St.

Tallahassee, FL 32399-0001
Defendant

Florida Department of Transportation
605 Suwannee Street

Tallahassee, FL 32399

Defendant

 

Jared W. Perdue, Secretary

Florida Department of Transportation
605 Suwannee Street

Tallahassee, FL 32399

Defendant

 

 

 

 

Dated: October 2, 2022

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